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Attorneys for Plaintiff

                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

     UNITED STATES OF AMERICA,             )   No. 3:19-cr-00033-TMB-DMS
                                           )
                          Plaintiff,       )   COUNT 1 and 3:
                                           )   DISTRIBUTION OF A
           v.                              )   CONTROLLED SUBSTANCE
                                           )     Vio. of 21 U.S.C. § 841(a)(1),
     NATHAN MICHAEL KLINGER,               )   (b)(1)(B)
                                           )
                          Defendant.       )
                                           )   COUNT 2:
                                           )   FELON IN POSSESSION OF A
                                           )   FIREARM AND AMMUNITION
                                           )     Vio. of 18 U.S.C. §§ 922(g)(1) and
                                           )   924(a)(2)
                                           )

                                       INDICTMENT

        The Grand Jury charges that:

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                                       COUNT 1

      On or about February 27, 2018, within the District of Alaska, the defendant,

NATHAN MICHAEL KLINGER, did knowingly and intentionally distribute a controlled

substance, to wit: 28 grams or more of a mixture containing cocaine.

      All of which is in violation of 21 U.S.C. § 841(a)(1), (b)(1)(B).

                                       COUNT 2

      On or about March 6, 2018, within the District of Alaska, the defendant, NATHAN

MICHAEL KLINGER, having been convicted of crimes punishable by imprisonment for

a term exceeding one year, did knowingly possess, in and affecting interstate and foreign

commerce, a firearm and ammunition, to wit:

      1.     a Springfield Armory XDM .45 caliber pistol; and

      2.     and 25 rounds of .45 ACP caliber ammunition.

                                      Convictions

   Conviction Date               Offense                  Court               Case No.
                         Misconduct involving
  November 17, 2000                                   State of Alaska     3AN-00-4491CR
                             Weapons 2
    January 1, 2004            Robbery 1              State of Alaska     3AN-02-7406CR

      All of which is in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

                                       COUNT 3

      On or about March 8, 2018, within the District of Alaska, the defendant,

NATHAN MICHAEL KLINGER, did knowingly and intentionally distribute a controlled

substance, to wit: 5 grams or more of actual methamphetamine.
                                        Page 2 of 3



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      All of which is in violation of 21 U.S.C. § 841(a)(1), (b)(1)(B).

      A TRUE BILL.


                                                 s/ Grand Jury Foreperson
                                                 GRAND JURY FOREPERSON



s/ Karen Vandergaw
KAREN VANDERGAW
Assistant U.S. Attorney
United States of America



s/ Bryan Schroder
BRYAN SCHRODER
United States Attorney
United States of America


DATE:        3/19/19




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